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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                   CASE NUMBER: 8:13CR78-002
                      Plaintiff,
                                                   USM Number: 25530-047
       vs.

JERRY R. MCKIM                                     O. WILLIAM VONSEGGERN
                                                   DEFENDANT’S ATTORNEY
                      Defendant.


                             JUDGMENT IN A CRIMINAL CASE
                   (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to Count 1 of the Information on 05/28/2013.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following
offense(s):

      Title, Section & Nature of Offense           Date Offense Concluded        Count Number

33:1319(c)(1)(A) and 18:2 NEGLIGENT                      January, 2011                   I
DISCHARGE OA A PULLUTANT INTO A
WATER OF THE UNITED STATES WITHOUT
A PERMIT

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of
this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405
(Revised DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                            Date of Imposition of Sentence:
                                                            August 19, 2013

                                                            s/ F.A. Gossett
                                                            United States Magistrate Judge

                                                            August 19,2013
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                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________,
20___.

                                                           _____________________________
                                                                 Signature of Defendant

                                          RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________,
20____ to ______________________________________, with a certified copy of this
judgment.

                                                           _____________________________
                                                                 UNITED STATES WARDEN

                                                           BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed
the Acknowledgment of Receipt, above.

                                       CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of ______________, 20____.

                                                           _____________________________
                                                                 UNITED STATES WARDEN

                                                           BY: __________________________




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                                           PROBATION

The defendant is hereby sentenced to probation for a term of 6 months.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two
period drug tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

       If this judgment imposes a fine or a restitution obligation, it shall be a condition of
probation that the defendant pay any such fine or restitution in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.


                            STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed by
        the court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family
        responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the
        probation officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase,
        possess, use, distribute, or administer any controlled substance or any paraphernalia
        related to any controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and
        shall not associate with any person convicted of a felony, unless granted permission to
        do so by the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;



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11.     The defendant shall notify the probation officer within seventy-two hours of being
        arrested or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special
        agent of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that
        may be occasioned by the defendant’s criminal record or personal history or
        characteristics and shall permit the probation officer to make such notifications and to
        confirm the defendant’s compliance with such notification requirement.

                            SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall cooperate in the collection of DNA as directed by the probation
        officer, pursuant to the Public Law 108-405 (Revised DNA Collection Requirements
        Under the Justice for All Act of 2004),if such sample was not collected during
        imprisonment.

2.      The defendant shall complete 30 hours of community service as approved and directed
        by the probation officer. The defendant shall be responsible for providing the probation
        officer with written proof of the number of hours completed.

3.      The requirement of 18 U.S.C. § 3563(a)(5) regarding drug testing within fifteen (15) days
        of release on probation and at least two (2) periodic drug tests thereafter, is suspended
        until further order of the Court because the Presentence Investigation Report on the
        defendant and other reliable sentencing information indicates a low risk of future
        substance abuse by the defendant.

4.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
        District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th
        Plaza, Suite C79, Omaha, Nebraska, (402) 661-7555, within seventy-two (72) hours of
        being placed on probation or release from confinement and, thereafter, as directed by
        the probation officer.




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                                CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

      Total Assessment                         Total Fine                        Total Restitution

      $25.00 (paid in full)                                                 $6855.00 (paid in full)

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.


                                                  FINE
No fine imposed.
                                            RESTITUTION

Restitution in the amount of $6855.00 hereby ordered. The defendant shall make restitution to
the following payees in the amounts listed below.

                                                                                     Priority Order or
                                                         Amount of Restitution        Percentage of
    Name of Payee             Total Amount of Loss            Ordered                    Payment

Nebraska Department                $6,855.00                  $6,855.00           Priority  Order         /
of Health and Human                                                               Percentage
Services

Totals                             $6855.00                   $6855.00

Restitution was paid in full by Vision 20-20 Inc. on 6/7/2013.

**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and
113A of Title 18,United States Code, for offenses committed on or after September 13, 1994 but
before April 23, 1996.


CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk


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